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                                EXHIBIT A
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      SATANIC ABORTION RITUAL




The Satanic Abortion Ritual is a           Misinformation about abortion
destruction ritual that serves as          and guilt for pursuing that
a protective rite. Its purpose is          option can be a lot to handle. It
to cast off notions of guilt,              can be exhausting and
shame, and mental discomfort               frustrating to try to shrug off
that a patient may be                      and dismiss internal and
experiencing due to choosing               external pressures, especially
to have a medically safe and               those driven by religious
legal abortion.                            convictions that disregard the
                                           beliefs and freedoms of others.
Even the most confident and                Even when one recognizes that
unapologetic individual can                these criticisms are invalid,
experience uncomfortable                   they can make an already
feelings and anxiety for                   troubling time even harder.
choosing to terminate their
pregnancy. Laws in many                    This ritual is intended to
states that impose waiting                 alleviate some of these
periods and state-mandated                 stressors and empower the
counseling can exacerbate                  patient to be guided by the
these feelings, as can social              Third and Fifth Tenets when
condemnation and outright                  pursuing their decision.
harassment by those who
oppose abortion.                           The purpose of the ritual is not
                                           to persuade someone to have
                                           an abortion if they are
                                           undecided. Instead, the ritual
                                           serves to assist in confirming
                                           their decision and to ward off
                                           the effects of unjust
                                           persecution, which can cause
                                           one to stray from the paths of
                                           scientific reasoning and free
                                           will that TST members strive to
                                           embody.
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    ABOUT THE RITUAL                                 PREPARATIONS




TST's abortion ritual can be                 Before performing the ritual,
performed to address definable               you may choose to review the
concerns or to overcome                      science about the safety and
unproductive feelings.                       reality of abortion and the
                                             debunked claims from those
The ritual, which includes the               who oppose abortion. You may
abortion itself, spans the entirety          also choose to read stories or
of the pregnancy termination                 listen to podcasts about people
procedure. There are steps to be             who made great sacrifices in
performed before, during, and                the struggle to establish the
after the medical or surgical                reproductive rights we have
abortion.                                    today. These stories can be
                                             inspirational and may subdue
Because rituals are deeply                   stigmas you might feel from
personal to those enacting them,             those who oppose abortion.
there are variations in how it may
be performed. The ritual can be
                                             Your ability to choose to
personalized based on personal
                                             terminate a pregnancy is
preferences and availability of
                                             consistent with the ideals of
materials. There is no need to
                                             liberty and freedom. Be proud
purchase anything special or to
                                             of pursuing what you want for
adhere to every word. What is
                                             your life despite opposition.
essential is the spirit and general
intent.

One can also perform their                             IMPLEMENTS

favorite destruction ritual to                  A quiet space where you
target any of the unwanted                      feel comfortable
feelings incited by adversity faced
                                                Something that allows you
as a consequence of choosing to
                                                to see your reflection
have an abortion. Feel free to
                                                A copy of The Satanic
take or leave whatever you wish
                                                Temple’s third and fifth
from this one to build your own.
                                                tenets and personal
                                                affirmation
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                 TENETS AND AFFIRMATIONS




                              Tenet III
          One’s body is inviolable, subject
             to one’s own will alone.


                              Tenet V
     Beliefs should conform to one's best
    scientific understanding of the world.
    One should take care never to distort
      scientific facts to fit one's beliefs.


              Personal Affirmation
                  By my body, my blood
                  By my will, it is done.
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                               PROCEDURES




For medical abortions:                       For surgical abortions:
Immediately before taking                    Immediately before
the medication(s) to                         receiving any anesthetic or
terminate your pregnancy,                    sedation, look at your
look at your reflection to be                reflection to be reminded of
reminded of your personhood                  your personhood and
and responsibility to yourself.              responsibility to yourself.
Focus on your intent, take                   Focus on your intent, take
deep breaths, and make                       deep breaths, and make
yourself comfortable. When                   yourself comfortable. When
ready, read the Third Tenet                  you are ready, say the Third
aloud to begin the ritual.                   Tenet aloud. The surgery can
After swallowing the                         now begin. During the
medication(s), take another                  operation, take another deep
deep breath and recite the                   breath and recite the Fifth
Fifth Tenet. After you have                  Tenet. Immediately after the
passed the embryo, return to                 surgery, return to your
your reflection, and recite the              reflection and recite the
personal affirmation. Feel the               personal affirmation. Feel the
doubts dissipating and your                  doubts dissipating and your
confidence growing as you                    confidence growing as you
have just undertaken a                       have just undertaken a
decision that affirms your                   decision that affirms your
autonomy and free will. The                  autonomy and free will. The
religious abortion ritual is                 religious abortion ritual is
now complete.                                now complete.
